






In The



Court of Appeals



Ninth District of Texas at Beaumont



  ______________________ 


					

NO. 09-08-098 CR


  ______________________



RAYBURN VAN ADAMS, Appellant



V.



THE STATE OF TEXAS, Appellee






On Appeal from the Criminal District Court


Jefferson County, Texas


Trial Cause No. 96053






MEMORANDUM OPINION


	On February 13,  2008, the trial court sentenced Rayburn Van Adams on a conviction
for assault on a public servant.  Adams filed a notice of appeal on February 26, 2008.  The
trial court entered a certification of the defendant's right to appeal in which the court certified
that this is a plea-bargain case and the defendant has no right of appeal.  See Tex. R. App. P.
25.2(a)(2).  The district clerk has provided the trial court's certification to the Court of
Appeals.

	On March 6, 2008, we notified the parties that we would dismiss the appeal  unless
an amended certification was filed within fifteen days of the date of the notice and made a
part of the appellate record.  See Tex. R. App. P. 25.2(f).  The record has not been
supplemented with an amended certification.

	Because the record does not contain a certification that shows the defendant has the
right of appeal, we must dismiss the appeal.  See Tex. R. App. P. 25.2(d).  Accordingly, we
dismiss the appeal for want of jurisdiction.

	APPEAL DISMISSED.	

								                                                        

									DAVID GAULTNEY

										Justice


Opinion Delivered April 2, 2008

Do Not Publish

Before Gaultney, Kreger, and Horton, JJ.


